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UNITED STATES oF AMERICA Q%GF i'=”*-WW'¥S

Plaintiff,

VS. CR. NO. 05-20012-D

MONTELL BRIDGEWATER
Defendant.

 

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AND SETTING

 

This cause came on to be heard on June 30, 2005, the United States
Attorney for this district, Dan Newsom, appearing for the Government and
the defendant, Montell Bridgewater, appearing in person and with
counsel, J. Patten Brown, III, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts 1 and 2 of the
Indi c tment .

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MON`DAY, SEPT-IER 26, 2005, at
1:30 P.H., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the é day of July, 2005.

 

 

ITED STATES DISTRICT CO'URT

  

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with Fiuie 55 and/or 32(b) FHCrP on

   

UNITED sATE DISTRICT COURT - W"'RT DISTRCT OFTENNESSEE

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J. Patten Brown

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Honorable Bernice Donald
US DISTRICT COURT

